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*May 8, 2011. Nelson kills Scaman "who reportedly taunted him with a knife during a       11
traffic stop." He refused to put down the knife.

*September 1, 2012. Nelson deploys spike strips. Suspect evades, another officer tire     13
popped, then he was part of arresting suspect who "failed to yield" (12 force 073)

*November 23, 2012. Nelson used a Taser to such an extent to arrest a non-violent         15
felon (theft) who was fleeing from arrest that the felon had to be transported to the
hospital (13 force 082)
*May 12, 2013. Nelson used PIT techniques on a fleeing vehicle. (13 force 037)            18


*August 20, 2013. Nelson Warning (reprimand), collision in a parking garage.              23


*September 25, 2013. Nelson used a Taser in executing an arrest warrant for a non-       25
violent offense when the suspect refused to crawl out from underneath a vehicle
requiring the fire department to respond and give the suspect medical treatment (13
*September 25, 2013. Nelson used a Taser in executing an arrest warrant for a non-       29
violent offense when the suspect refused to crawl out from underneath a vehicle
requiring the fire department to respond and give the suspect medical treatment. (13
*December 13, 2013. Rude behavior of officers to residents. Nelson Findings, Complaints, 34
Unacceptable Performance finding.

*January 4, 2014. Caillier Findings re Nelson, Complaints, took arrestee's property and   37
disposed of it. Complaints, Unacceptable Performance

*January 5, 2014. Nelson directed his K-9 to bite an individual who was hiding from him   40
who was suspected of violating a domestic stay away order. (14 force 01)

*March 2, 2014. Nelson directed his K-9 to bite an individual who committed jaywalking 43
in his presence because he fled when he attempted him to stop him requiring the fire
department to respond and give the individual medical treatment. (14 force 15)
*March 31, 2014. Nelson directed his K-9 to bite an individual who fled on foot after he 46
was observed being in possession of a motor vehicle requiring the fire department to
respond and give the individual medical treatment (14 force 22).
*April 27, 2014. Nelson Findings, Acceptable Performance (allegation he was              50
discourteous to an alleged V of assault.). Complaints.

*June 17, 2014. Nelson body slammed an individual causing bruising to their face and      52
injury to their shoulder when he executed a misdemeanor arrest warrant requiring the
fire department to respond to give the individual medical treatment. (14 force 41)




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*June 19, 2014. Nelson and a compatriot broke multiple bones in a suspect's face. The         55
person was wanted on a non-violent felony arrest warrant, and was hospitalized after he
resisted arrest and attempted to fight off both of them. (14 force 43)
*July 11, 2014. Nelson directed his K-9 to bite an individual suspected of committing a       60
property crime as the individual his from the police officers requiring the fire department
to respond to give the individual medical treatment. (14 force 48)
*July 9, 2014. Nelson unaware that he was being videotaped, said to his compatriot "Are       63
you ready to fuck this guy up" then proceeded to Taser and choke out an individual until
he lost consciousness requiring the fire department and paramedics to respond because
the individual jay-walked and cursed at them when they tried to cite him. (14 force 51)
*July 30, 2014. Findings from July 9, 2014. Actual Misconduct Finding. Complaints.            67


*August 27, 2014. Summary and Findings memo, Complaints, 8-27-2014, Nelson in           70
relationship, slapped bottom, makes derogatory comments about female officers. Finding
of Acceptable Performance by all officers.
*August 31, 2014. Nelson directed his K-9 to bite an individual who was hiding from him 76
after the individual fled from a traffic stop and hid in a garbage dump to avoid arrest
requiring the fire department to respond to give the individual medical treatment (14
force 57)
*September 23, 2014. Inquiry into Nelson use of Oxycodone without a prescription        81
during work. Finding of no indication allegations are true.

*November 18, 2014. Nelson kicked an individual then directed his K-9 to bite an              85
individual causing lacerations and bruising to him because the individual fled from Nelson
after Nelson tried to execute a non-violent arrest warrant requiring the fire department to
respond to give the individual medical treatment. (14 force 78)
*November 27, 2014. Findings letter, Complaints. Juvenile said arresting officer grabbed      91
his nuts and Nelson said "I hope you don't get raped." Acceptable -Performance, no
evidence of officers' misconduct.
*December 14, 2014. Nelson directed his K-9 to bite an individual while the individual        93
hid from him causing multiple lacerations while conducting a felony domestic violence
investigation requiring the fire department to respond to give the individual medical
treatment, (14 force 86)
*December 31, 2014. Nelson punched an individual in the mouth then directed his K-9           100
to bite that individual when he executed an arrest warrant in the individual's home
requiring the fire department to respond and then hospitalize the individual (14 force 95)
*January 29, 2015. Nelson caused an individual to be taken to the hospital when he            110
directed his K-9 to bite him in response to a traffic crime while the individual was hiding
from the police because he did not want to be arrested. (15 force 11)
*anuary 29, 2015. Nelson caused an individual to suffer injury when he directed his K-9       116
to bite that individual while arresting him for a misdemeanor offense because the
individual hid from him. (15 force 12)




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*February 4, 2015. Nelson caused an individual to suffer injury when he directed his K-9       122
to bite that individual after the individual provided a compatriot a false name and fled
into the tree line to hide (15 force 13)
*March 4, 2015. An individual was injured and taken to the hospital as a result because        130
Nelson's K-9 bit him after the individual fled from police following a suspected car theft.
(15 force 15)
*March 7, 2015. Nelson requested to do high risk arrest; he initiates stop by using police     136
vehicle to strike other cars, cause additional crashes. Warns suspects he would use lethal
force to stop them. (15 force 16)
*March 9, 2015. Nelson uses striking of vehicle and PIT manuever to execute arrest on a        142
DOC warrant (no PC for the theft). (15 force 21)

*April 16, 2015. A individual who fled from Nelson was hospitalized after Nelson directed      148
his K-9 to bite the individual repeatedly because Nelson found the individual's presence in
a restaurant parking lot to be suspicious. (15 force 33)
*May 12, 2015. An individual who fled from Nelson suffered injuries because Nelson's K-9       156
bit him and Nelson assaulted him when the individual refused to stop and fled from
officers after police contacted him in a parking lot. (15 force 39)
*May 19, 2015. Nelson responds to mentally ill person with a 6 in black handled,               163
serrated kitchen knife yelling at traffic. Nelson points gun on him, deploys K-9, and
tackles. Fire was called to assess the arrestee. (15 force 40)
*May 23, 2015. Nelson assists in felony arrest inside a house, deploys K-9. (15 force 44)      170


*May 25, 2015. Nelson pursues suspect running with alcohol, wrestles him to the ground. 176
(15 force 46)

*June 14, 2015. Nelson deploys K-9 while pursuing fleeing suspect. Innocent bystander          182
"enters the scent picture" of the suspect, backs into a vehicle, and is attacked by the K-9.
Bystander treated by Fire and transported to Auburn Regiondal Hospital.
*July 1, 2015. Nelson suspension memo, re May 25, 2015 Preventable collision. Joins            186
another officer's arrest, in eagerness to apprehend, Nelson smashes into other officer's
vehicle.
*Jun 16, 2015. While investigating a misdemeanor domestic stay away order, Nelson              190
directed his K-9 to bite an individual and also punched the individual in the face requiring
him to be hospitalized. (15 force 54)
*June 13, 2015. Report corrected. (15 correction 025) in Complaints, 6-22-2015 report.         197
Nelson and others re-enter a home after suspect surrended, with no reason to enter. Lack
of communication as well "unacceptable."
*August 2, 2015. Nelson, during an investigation of a domestic stay away order, choked         201
out an individual until he lost consciousness requiring medical treatment at the scene. (15
force 71)




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*August 16, 2015 Nelson choked out an individual until he lost consciousness and had 208
to be hospitalized because the individual, was emotionally distressed, disregarded officer
commands, and was colliding with officer vehicles with his vehicle. (15 force 79)
*September 1, 2015. Nelson strikes suspect vehicle when he believes he was "attempting 214
to circumvent the PIT and flee. (15 force 92)

*September 12, 2015. Investigating a vehicle theft, Nelson directed his K-9 to bite an             219
individual as the individual hid from him, then kicked the individual to effectuate an arrest
causing him injuries. (15 force 96)
*September 29, 2015. Assisting another officer with a traffic stop, Nelson directed his K-9        225
to bite and scratch the passenger who walked away from the scene and later allegedly
struggled with the dog, requiring the person to be taken to the hospital. (15 force 105)
*October 29, 2015. Nelson, assisting three officers who had in custody and handcuffed a            232
drunk person pursuant to a domestic call, applied a lateral vascular neck restraint and
rendered the suspect unconscious. Nelson then struck the man three times on the back to
revive him. Upon being revived after 20 seconds, the man said "you f-ing killed me man."
(15 force 115)
*November 3, 2015. Nelson tackled a man in relation to a misdemeanor property crime.               238
Nelson secured his head with his right arm and applying pressure to his cheek while
turning his face and head to the left, later applied additional pressure, and still later in the
arrest applied the lateral vascular neck restraint control hold. (15 force 117)
*November 3, 2015. Nelson tackled a man in relation to a misdemeanor property crime.               245
Nelson secured his head with his right arm and applying pressure to his cheek while
turning his face and head to the left, later applied additional pressure, and still later in the
arrest applied the lateral vascular neck restraint control hold. (15 force 119)
*December 15, 2015. Pursuing a fleeing suspect, Nelson's K-9 bit the individual and                251
Nelson pushed the individual down, resulting in the person hitting a bathtub on the way
down. As the individual tried to get the dog off of his leg, Nelson kicked him in the chest.
The individual had multiple abrasions and lacerations. (15 force 129)
*January 9, 2016. Nelson entered a home where several officers were already inside, and            259
applied a lateral vascular neck restraint hold to a suspect, and also placed his forearm
across the individual's face and nose region and applied pressure (cross face control hold).
Nelson then applied additional pressure to his neck, wrapped his legs around the suspect's
legs, and applied additional pressure until the person lost consciousness. The person had
a bloody nose and bruising and was taken to the hospital. (16 force 07)
*January 9, 2016. Nelson "stop-kicked" a suspect in the upper torso at a Fred Meyer                294
store in responding to a "suspicious subject." (16 force 08)

*January 31, 2016. Nelson deployed his K-9 on a passenger who left the scene of a                  265
vehicle stop. The subject received a bite, and Valley Regional Fire was called to evaluate
and treat him, and was transported to the hospital. (16 force 13)




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*February 20, 2016. Assisting a private PI with an arrest warrant, Nelson secured the        271
woman's head and neck in a lateral vascular neck restraint hold. She flailed and she also
indicated she was pregnant, so Nelson used a side to side control hold. She was taken to
the hospital for further evaluation. (16 force 18)
*December 3, 3016. Nelson's deployed his K-9 on an individual who was fleeing a              277
vehicle that was purportedly stolen. The individual received abrasions and a bite and was
taken to the hospital as a result of his injuries.(16 force 121)
*December 5, 2016. Nelson deployed his K-9 against a subject purportedly involved in a       283
vehicle prowl or assault. She received lacerations on her left forearm and foot and was
transported to Auburn Hospital for additional treatment. (16 force 123)
*December 16, 2016. Nelson drove over a median to block a vehicle and the pursued            289
vehicle struck another vehicle, injuring a 72-year-old man. He was evaluated by Valley
Fire. (16 force 131)
*January 5, 2017. Nelson was part of a team that employed elbow strikes, tasers, and         301
the vascular neck restraint hold on an intoxicated suspect. Nelson rammed into the citizen
in his right shoulder and drove him into a wall, then kneed him in his upper left quad.
Nelson then took hold of the citizen's head and neck and pulled him upward, disrupting
his balance, and simultaneously drove his upper body onto the floor. Nelson kneed him
again three times in the left side. More pressure was applied to the citizen's neck by
another officer, rendering the man unconscious. He regained consciousness when being
handcuffed and said "you're killing me, I can't breathe." The citizen had lacerations,
abrasions, and was taken to the hospital. This involved possible misdemeanor DV. (17
*17 force 03 -see above                                                                      307


*17 force 04 -see above                                                                      313


*February 16, 2017. Nelson deployed his K-9 on a citizen who had an arrest warrant, and 318
as the person tried to break free of the bite, Nelson struck him in the face with his right
forearm and knocked him to the ground, and he was taken to the hospital as a result of
his injuries. (17 force 18)
*February 22, 2017. Nelson deployed his K-9 on a suspect who fled from a stolen car,        323
resulting in the dog biting his right forearm. Nelson then drove the person's torso into a
wall as the person tried to get out of the dog's hold. The person had several abrasions
and bruising consistent with a dog bite and the person attempting to pull away from a
dog. The person was taken to the hospital due to his injuries. (17 force 22)
*February 26, 2017. After a citizen bumped Nelson who was assisting a casino with           329
ejecting a customer, Nelson came up behind the person and employed his head and neck
in the lateral vascular neck restraint hold and rotated his body to the ground. He later
applied additional pressure and rendered the person unconscious. The citizen was injured
and transported to a medical facility. (17 force 23)




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*March 17, 2017. Nelson deployed his K-9, who bit and held a fleeing suspect's forearm. 335
The person struggled, and required medical treatment for the dog bites. (17 force 34)

*April 7, 2017. Nelson was called to a hospital to trespass an unwanted                      342
subject/intoxicated person. As the person struggled, Nelson applied the lateral vascular
neck restraint hold, rendering the person unconscious. The citizen was transported to
Highline Medical Center. (7 force 55)
*April 7, 2017. Finding of Misconduct. Continued to pursue a fleeing vehicle after Sgt had   349
told them to terminate the pursuit. Drove in ways that caused the suspect to use evasive
tactics, continued and did not use emergency equipment or notify supervisor. (May 17,
2018 findings)
*May 1, 2017. Nelson deployed his K-9 on a citizen regarding an alleged stolen vehicle.      352
Fire fighters were called to the scene and transported the citizen to the hospital to
evaluate the dog bite/lacerations he received. (17 force 69)
*May 16, 2017. Nelson deployed his K-9 on a citizen who fled a traffic stop, was bit by      357
the K-9, sustained abrasions and lacerations, and required medical care. (17 force 83)

*May 30, 2017. Nelson deployed his K-9 on suspected burglars. The dog seized one of the 363
adult males who was laying on the floor. After the person grabbed the dog's head trying
to get the dog off of him, and after Nelson confirmed the person had no weapons, he
struck the person on the face with his open palm. Nelson then told the K-9 to release his
hold on the individual, who was later treated by fire fighters for his bite. (17 force 88)
*June 6, 2017. Nelson deployed his K-9 and commanded him to locate a suspect who           369
was bit on the lower left leg. He was treated/evaluated by Valley Regional Fire and found
to have multiple visible lacerations on both legs. (17 force 95)
*June 10, 2017. Force report (17 force 102) associated with firearm discharge              375


*June 10, 2017. Incident Findings Nelson acted reasonably, Firearm discharge, 6-10-2017 377
(Obet)

*July 16, 2017. Nelson was dispatched to a DV no contact order welfare check. He            380
deployed his K-9 on the person who had left the residence by the time Nelson arrived.
The dog "contacted" the suspect on his right upper bicep, and, when attempting to pull
himself free of the dog's jaws, Nelson used his right foot to "push" the suspect off of the
dog. Valley Regional Fire was called to treat/evaluate the person, who was transported to
Valley Medical Center for additional treatment. (17 force 125)
*September 20, 2017. Findings Memo, vehicle collision was Non Preventable. 9-20-2017 386


*August 7, 2017. Nelson deployed his K-9 on two (drive by shooting) suspects, one of         388
whom received lacerations on his on both of his arms and was taken to the hospital as a
result of his injuries. (17 force 135)




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*August 8, 2017. Nelson deployed his K-9 on burglary suspects who were located and                394
bitten by the K-9. Nelson tackled one of the suspects as well. The injuries were
evaluated/treated by Valley Fire. (17 force 138)
*August 21, 2017. Nelson deployed his K-9 on an intoxicated person who was striking a             401
vehicle. The dog first bit the individual on the right pectoral region. Later, lacerations were
seen on the pectoral area, upper should and inner bicep region. The person was first
transported to Auburn Regional hospital, but since an artery was damaged, they were
transported to the Harborview Medical Center for treatment of his injuries. (17 force 145)
*September 9, 2017/. Nelson deployed his K-9 to apprehend an individual who was                   407
"pulled out" of an area by the K-9. There were red circular and linear abrasions on the
suspect's forearm, purportedly caused by their effort to trying to pull/push the dog off
during the bite. He was transported to Auburn Hospital for treatment. (17 force 157)
*October 17, 2017. Nelson, in a misdemeanor DV arrest entered a home and began                    413
arresting a person who denied involvement. Nelson secured the person in a lateral
vascular neck restraint hold, and they began flailing. Nelson applied additional pressure
until the person became unconscious. Nelson then began lateral vascular neck restraint
recovery procedures which include striking the person with an open palm several times in
the back. Firefighters were called to evaluate. (17 force 181)
*December 5, 2017. Nelson pursued a stolen vehicle, and the driver denied it was stolen.          420
When the driver purportedly did not follow commands and moved around inside the
vehicle, Nelson deployed his K-9 on his person The K-9 maintained a hold on the left
forearm. The driver had no warrants and said he purchased the vehicle. There were
several linear abrasions consistent with a dog bite and was transported to the hospital for
further evaluation of his injuries. (17 force 199)
*January 1, 2018. Nelson placed his hands on an agitated person whom he says tried to             427
bite him. He and another officer pushed this person and Nelson ultimately applied the
lateral vascular neck restraint hold, rendering him unconscious. He then lowered the
citizen into a seated position and struck the person on his back as part of the recovery
protocols. The person was taken to the hospital for further evaluation. (18 force 01)
*January 13, 2018. Nelson responded to an injury collision. Nelson deployed his K-9 to            432
locate a driver who had left the scene. The dog bit and held the person who suffered
several minor lacerations, and was treated on the scene by the Fire Department. (18 force
06)
*January 27, 2018. Executing a warrant, Nelson deployed his K-9, who held onto the                438
person's right forearm. When the person's parents intervened in the fracas, Nelson
pushed both of them into the house. The arrestee had several lacerations on his inner and
outer right forearms (3-6 inches), and had an already existing injury reo-opened, so he
was transported to the hospital. (18 force 19)
*May 15, 2018. Nelson deployed his K-9 to apprehend person who exited a purportedly               446
stolen vehicle. K-9 bit his upper right arm; when the individual tried to get the dog off of
him, Nelson used his right forearm to strike the person's left shoulder and force the
person to the ground. The person tried to get his arm out of the dog's jaws, and was told
to "stop fighting with the dog." When he showed both hands to Nelson, Nelson released
the dog. (18 force 104)


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*May 25, 2018. Nelson deployed his K-9 on 3 suspects. (wo surrendered immediately, one       452
fled). The dog attacked the third with a bite and hold; Nelson confirmed hel had no
weapons, and commanded the dog to release, but the person was screaming loudly and
officers yelling loudly, which drowned out the commands, resulting in additional injuries.
The individual was treated by Fire and taken to the hospital. (18 force 117)
*June 1, 2018. Nelson approached mentally ill, intoxicated person with a cell phone and      457
knife. The dog bit was deployed and affixed his jaw on the citizen's left leg. Nelson then
struck the person on the left side of his face with his right forearm, knocking him to the
ground. The person lost consciousness and struck his head and back on the pavement.
Then Nelson released the dog's hold. He was treated by fire and taken to the hospital. (18
force 128)
*June 16, 2018. Nelson deployed K-9 on a passenger fleeing in a stolen vehicle. Dog          463
pulled him out of vegation. Fire was called and he was transported to the hospital (18
force 135)
*June 20, 2018. Nelson assisted in arrest warrant. He tackled the suspect, put his head      469
and neck in a vascular neck restraint hold. Nelson used his body weight to point the
persons face and stomach towards the ground, and applied more pressure with the
vascular neck restraint hold which ultimately rendered him "effectively" unconscious.
Nelson released his hold, the person was treated by Valley fire and transported to the
hospital. (18 force 139)
*June 22, 2018. Nelson deployed his K-9 on a person with a DOC warrant. The dog bit his      475
right forearm, the person had visible lacerations and was transported to the hospital due
to his injuries. (18 force 143)
*June 28, 2018. A welfare check turned into an elude. Nelson deployed his K-9 who bit the    481
original detective pursuing the suspect. Nelson commanded K-9 to release the Detective,
who was injured and unable to continue. Later Nelson rammed and tackled the suspect to
the ground and the K-9 bit him. Nelson applied the Vascular Neck Restraint. The K-9 then
bit Nelson. (18 force 150)
*August 23, 2018. Joseph Allen Case. Intentionally ran Allen over with his vehicle,          489
fracturing both ankles. Findings and Analysis. Nelson acted reasonably. (18 force 177)

*September 12, 2018. Nelson struck a vehicle and spun it in PIT maneuvers but was            492
unable to stop the SUV. (18 force 191)

*November 1, 2018. Responding to shoplift of cigarettes, suspect seen at "Ray of Hope"       499
shelter, Nelson did not deploy his K-9, but chased the suspect t on foot, grabbed his
shoulder, pulled him down, did a hip throw. The person "crawled," so Nelson struck him
under under arm with his right knee, laid on top of him, and applied the Vascular Neck
Restraint. He continued moving so Nelson applied more pressure until he was
unconscious. Valley Fire responded and took the man to the hospital. (18 force 222)




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